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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/2/2020


NITROUS FUNDING, LLC,

                                            Plaintiff,                20-CV-02216 (PAE)(SN)

                          -against-                                            ORDER

CARDINAL EQUITY, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        On Monday, August 24, 2020, the Honorable Paul A. Engelmayer assigned this matter to

my docket for settlement. In light of the impending close of fact discovery, the parties are

directed to contact Courtroom Deputy Rachel Slusher, rachel_slusher@nysd.uscourts.gov, with

three (3) mutually convenient dates, to schedule a settlement conference if they believe it would

be productive. Due to the Court’s busy calendar, settlement conferences must generally be

scheduled at least six to eight weeks in advance. The Court will likely be unable to accommodate

last-minute requests for settlement conferences, and the parties should not anticipate that

litigation deadlines will be adjourned in response to late requests for settlement conferences. As

soon as practicable.

SO ORDERED.




DATED:           November 2, 2020
                 New York, New York
